




Dismissed and Memorandum Opinion filed March 15, 2007








Dismissed
and Memorandum Opinion filed March 15, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-01047-CV

____________

&nbsp;

KHALIL KHALIL, Appellant

&nbsp;

V.

&nbsp;

STERLING BANK,
Appellee

&nbsp;



&nbsp;

On Appeal from the 190th District Court

Harris County, Texas

Trial Court Cause No. 2005-51874

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed October 23, 2006.&nbsp; On March 5, 2007, the
parties filed a motion to dismiss the appeal in order to effectuate a
compromise and settlement agreement.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed March
15, 2007.

Panel consists of Justices Frost, Seymore, and Guzman.





